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       UNITED STATES DISTRICT COURT
       EASTERN DISTRICT OF NEW YORK

          Aracelis Polanco, Administrator of the Estate of Layleen Polanco, Plaintiff, T
                         - against -                                                     No. l9-CV-4623 (DLI) (SJB)
                                                                                                           I



          City of New York, et al., Defendants                                                             I

                                                                                                          x
                                      CONFIDENTIALITY ORDER
    It is hereby ordered that the following provisions shall govem claims of confidentiality in these proceedings:

    (a)   The following documents and information may be designated as 'confidential' provided such documents are
          not public and have not previously been disclosed by the producing party to anyone except those in its
          employment or those retained by it fcheck all that apply]:


          _sensitive      Commercial Data, such as confidential or proprietary research, development, manufacturing,
          or commercial or business information, trade secrets, special formulas, company security matters, customer
          lists, financial data, projected sales data, production data, matters relating to mergers and acquisitions, and
          pricing data.

          X   Sensitive Personal Data, such as personal identifiers, financial information, tax records, and employer
          personnel records


          X   Medical and Legal Records, including medical files and reports.


          l-Norr-prrUlic criminal history

    (b) Ifany   party believes a document not described in the above paragraph should nevertheless be considered
          confidential, it may make application to the Court. Such application shall only be granted for good cause
          shown.

    (c) An attorney    for the producing party may designate documents or parts thereof as confidential by stamping
          the word "confidential" on each page

          If such informationis provided in an answer to an interrogatory, the attorney may separately append the
          information to the main body of the interrogatory responsesn mark such appendices 'confidential,' and
          incorporate by reference the appended material into the responses'

          At the time of a deposition or within 1 0 days after receipt of the deposition transcript , a party may designate
          as confidential specific portions ofthe transcript which contain confidential matters under the standards set
          forth in paragraph (a) above. This designation shall be in writing and served upon all counsel. No objection
          shall be interposed at deposition that an answer would elicit confidential information, Transcripts will be
          treated as confidential for this l0-day period. Any portions of a transcript designated confidential shall
          thereafter be treated as confidential in accordance with this order. The confidential portion of the transcript
          and any exhibits referenced solely therein shall be bound in a separate volume and marked "Confidential
          Information" by the reporter

    (d)   Documents designated 'confidential' shall be shown only to the attorneys, parties, experts, actual or proposed
          witnesseso court personnel and other persons necessary to review the documents for the prosecution or
          defense of this lawsuit. Each person who is permitted to see confidential documents shall first be shown a
          copy ofthis order and shall further be advised ofthe obligation to honor the confidential designation. The
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           parties agree that any confidential discovery material produced in this litigation may only be used in
           connection with this litigation.
    (e)    Review of the confidential documents and information by counsel, experts, or consultants for the litigants in
           the litigation shall not waive the confidentiality of the documents or objections to production.
    (f;    The inadvertent, unintentional, or in camera disclosure of a confidential document and information shall not
           generally be deemed a waivero in whole or in part, of any party's claims of confidentiality. If at any time
           prior to trial, a producing party realizes that some portion(s) of the discovery material that the party produced
           should be designated as 'confidential,' the party may so designate by apprising all parties in writing, and
           providing that the material has not already been published or otherwise disclosed, such portion(s) shall
           thereafter be treated as confidential under this order.
    (g)    If a party believes that a document designated or sought to be designated confidential by the producing party
           does not warrant such designation, the party shall first make a good-faith effort to resolve such a dispute with
           opposing counsel. In the event that such a dispute cannot be resolved by the parties, either pa$y may apply
           to the Court for a determination as to whether the designation is appropriate. The burden rests on the party
           seeking confidentiality to demonstrate that such designation is proper'
    (h) If any court filing   incorporates confidential material or would reveal its contents, the portions of such filing
           shall be delivered to the Court in a sealed envelope prominently bearing the caption ofthis action and the
           label "Confidential. Filed Under Seal." Counsel shall file under seal those and only those specific
           documents and that deposition testimony designated confidential, and only those specific portions of briefs,
           applications, and other filings that contain verbatim confidential data, or that set forth the substance of such
           confidential information, unless independent good cause is demonstrated.
     (i)   Within a reasonable period after the conclusion of the litigation, all confidential material shall be returned to
           the respective producing parties or destroyed by the recipients.

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     -     In any application to the Court referred to or permitted by this Order, the Court may exercise discretion in
           determining whether the prevailing party in such a dispute may recover the costs incurred by it and, if so, the
           amormt to be awarded.
     (k)   This Court shall retainjurisdiction over all persons subject to this Order to the extent necessary to enforce
           any obligations arising hereunder.
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 Dated: November 18, 2019
                                                                                             Ila;L*ex f*,/t -)
                                                               Plaintiff
                                                 Counsel for                                David B. Shanies
                                                                                            David B. Shanies Law Offrce

 oated:    \A\t{ \f Q                            Counsel for
                                                               Defendant City of New York

                                                                                            Philip Frank
                                                                                            New York City Law Department
 Dated:
                                                 Counsel for



 Dated:
                                                  United States Magistrate Judge
